                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                 Case No. 05-CR-240
               -vs-

ISRAEL S. MORENO,

                             Defendant.


                                          ORDER


               A stipulation has been reached between the parties in the above-captioned case

that the defendant, Israel S. Moreno (“Moreno”), be designated by the Bureau of Prisons to

a federal facility pursuant to a judgment entered by U.S. District Judge William C. Griesbach

in Case No. 05-CR-88. Because the parties are asking for the implementation of a judgment

issued by Judge Griesbach, Judge Griesbach’s Court is the proper place to present this

stipulation.

               Dated at Milwaukee, Wisconsin, this 14th day of December, 2007.

                                                  SO ORDERED,


                                                  s/ Rudolph T. Randa
                                                  HON. RUDOLPH T. RANDA
                                                  Chief Judge




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